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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

IN RE NEW ENGLAND COMPOUNDING:
PHARMACY, INC. PRODUCTS

LIABILITY LITIGATION

MDL NO.: 2419

DKT. NO.: 1:13-md-2419(FDS)
THIS DOCUMENT RELATES TO:
All Actions

FORSYTH STREET AMBULATORY SURGERY CENTER, LLC’s
OBJECTIONS TO PLAINTIFFS’ STEERING COMMITTEE’S SUBPOENA AND
NOTICED DEPOSITION OF A FORSYTH STREET REPRESENTATIVE

COMES NOW Forsyth Street Ambulatory Surgery Center, LLC, a non-party to this
litigation, and submits this objection to the subpoena of Plaintiffs’ Steering Committee (“PSC”)
on the grounds that (1) the qualified protective order was not served with the subpoena; (2) the
subpoena does not comply with the qualified protective order entered by this Court and seeks
information and material outside the scope of the qualified protective order; (3) the witness fee
was not provided to Forsyth Street Ambulatory Surgery Center, LLC, a non-party to this action;
and (4) the subpoena is unduly burdensome and overly broad as it seeks information that is not
reasonably calculated to lead to the discovery of admissible evidence.

Statement of Facts

On June 21, 2013, Mr. Thomas M. Sobol wrote Forsyth Street Ambulatory Surgery
Center, LLC, claiming that he and the Plaintiffs’ Steering Committee had “designated Patrick T.
Fennell to handle day-to-day litigation against Forsyth Street Ambulatory Surgery Center, LLC.”
(Ex. A, p. 2.) Mr. Sobol’s June 21, 2013 letter enclosed a copy of a subpoena signed by Patrick
T. Fennell setting the July 15, 2013 deposition of a Forsyth Street Ambulatory Surgery Center,

LLC representative and demanding the production of numerous documents. (Ex. A.) By
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separate letter, on June 25, 2013, Mr. Patrick T. Fennell sent a copy of Judge Saylor’s Order on
Enforcement of Subpoenas and Judge Saylor’s Order Granting Plaintiffs Leave to Serve
Subpoenas and Qualified Protective Order Regarding Protection of Health Information. (Ex. B.)
Mr. Fennell’s June 25, 2013 letter did not contain a subpoena.

To date, no lawsuit has been filed against Forsyth Street Ambulatory Surgery Center,
LLC, arising out of the administration of NECC products.

1. Mr. Fennell’s Subpoena should not be enforced because it was not served properly with
the applicable qualified protective order.

The June 21, 2013 subpoena, signed by Mr. Fennell and mailed as a copy by Mr. Sobol
did not append the June 21, 2013 Qualified Protective Order as required by that protective order.
(Ex. A; Doc. 192 915.)
2. Mr. Fennell’s Subpoena should not be enforced because the subpoena does not comply

with the qualified protective order entered by this Court and seeks information and
material outside the scope of the qualified protective order.

This Court’s June 21, 2013 Qualified Protective Order (“QPO”) provides that “[t]he
information requested and produced shall be limited to the names of patients that have been
identified as receiving NECC solutions, medications or compounds from January 2011 —
November 2012, the patients’ last known address, the records identifying that NECC was the
supplier of the solution, medication or compound, including lot number, the hospital or
healthcare facilities’ NECC product purchase records, including order forms, prescriptions,
billing and accounts receivable, the hospital or healthcare facilities’ NECC product storage and
patient distribution records, and any other information that lead counsel and the PSC reasonably
determine necessary to the prosecution and resolution of these actions.” Despite the limitations
presented in this Court’s QPO, the June 21, 2013 subpoena requests documents related to the

purchase of methylprednisolone acetate going back to October 6, 2007. (Ex. A, “Exhibit B to
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Subpoena” 42.) Furthermore, the subpoena seeks documents going back to October 6, 2010.
(Ex. A, “Exhibit B to Subpoena” {{]1, 3-7, 9.) Many requests in the subpoena have no time limit
at all. (Ex. A, “Exhibit B to Subpoena” 9/8, 10-16, 20-21.) Others seek information for the full
calendar years 2011 and 2013. ((Ex. A, “Exhibit B to Subpoena” §J 17-19.) Finally, the Vendor
contemplated in the QPO has not been identified. (Ex. A; Doc. 192 43.) As a result, Forsyth
Street Ambulatory Surgery Center, LLC, objects to the subpoena in its entirety.

3. Mr. Fennell’s Subpoena should not be enforced because the witness fee was not provided

to Forsyth Street Ambulatory Surgery Center, LLC, a non-party to this action.

The Proof of Service portion of Mr. Fennell’s June 21, 2013 Subpoena for a deposition
and the production of documents was not completed as required by the Federal Rules of Civil
Procedure. (Ex. A.) Additionally, no fee was provided to Forsyth Street Ambulatory Surgery
Center, LLC, an entity that is not a party to this action.

4. Mr. Fennell’s Subpoena should not be enforced because _the subpoena is unduly
burdensome and overly broad seeking information that is not reasonably calculated to

lead to the discovery of admissible evidence.

It is of the utmost importance that it be clear that Forsyth Street Ambulatory Surgery
Center, LLC, is a non-party to this action and has not been sued by any plaintiff claiming he or
she was a victim of the fungal meningitis outbreak. Still, even though there is no meningitis
litigation involving a Forsyth Street Ambulatory Surgery Center, LLC, patient, the PSC seeks
information concerning Forsyth Street’s purchases from various pharmacies. (Ex. A, “Exhibit B
to Subpoena”.) The PSC seeks “all documents . . . containing communications [with] any
federal or state agency . . . in connection with the procurement of products from any
compounding pharmacy,” “any and all policies of insurance, including without limitation of the
foregoing, professional liability, malpractice, products liability, general liability, and

comprehensive or umbrella policies,” “Articles of Incorporation and/or By-Laws,” a list of all
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officers and directors of Forsyth Street, and the identity of anyone with an ownership interest in
Forsyth Street (Ex. A, “Exhibit B to Subpoena” 496, 11, 17-21.) Simply put, Plaintiffs’ Steering
Committee is on a fishing expedition.

“The somewhat limited case law concerning non-party production of discovery materials
reveals there is a case-specific balancing test wherein the court must weigh factors such as
relevance, the need of the party for the documents, the breadth of the document request, the time
period covered by the requests and the particularity with which the documents are described
against the burden imposed on a person ordered to produce the desired information.” United
Technologies Corp. v. Mazer, 05-80980-CIV, 2007 WL 788877 (S.D. Fla. Mar. 14, 2007); See,
e.g., Farnsworth v. Procter & Gamble Co., 758 F.2d 1545 (11th Cir. 1985) 1. American Electric
Power Co., Inc. v. United States, 191 F.R.D. 132 (S.D.Oh.1999). “Courts must also consider the
status of a witness as a non-party when determining the degree of burden; the status of the person
as a non-party is a factor often weighing against disclosure.” Jd.; American Electric, 191 F.R.D.
at 136.”

A non-party can object on the grounds of relevance. Jd. In the matter at hand, the PSC
seeks information concerning the corporate structure of Forsyth Street Ambulatory Surgery
Center, LLC, its insurance information, the identity of all its owners, and other documents and
pieces of information concerning purchases from medical suppliers or pharmacies that have
nothing to do with any suit that is part of the MDL. These documents simply are not at all
relevant to the proceedings. There is no suit against Forsyth Street Ambulatory Surgery Center,

LLC, so the nature of its insurance, the identification of its owners, and the nature of its

‘ This Court sits as a judge of the Federal District Court for the Middle District of Georgia for purposes of
this objection. U.S. ex rel. Pogue v. Diabetes Treatment Centers of America, Inc., 444 F.3d 462, 468-69 (6th Cir.
2006).
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corporate structure are not relevant to the pending actions. Plaintiffs’ requests are facially
overbroad and should not be enforced against Forsyth Street Ambulatory Surgery Center, LLC.
For these reasons, Forsyth Street Ambulatory Surgery Center, LLC, asks that this Court

quash or modify the subpoena in accordance with Forsyth Street Ambulatory Surgery Center,

LLC,’s objections.

Respectfully submitted this 9th day of July, 2013.

cd

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CERTIFICATE OF SERVICE

This will certify that a true and correct copy of the foregoing was served on Lead Counsel
for the PSC and Attorney Patrick Fennell by Certified U.S. Mail with sufficient postage to ensure
delivery this 9th day of July 2013.

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